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 8                     UNITED STATES DISTRICT COURT

 9                    NORTHERN DISTRICT OF CALIFORNIA
     Andres Gomez ,              )
10   Plaintiff,                  ) Case No.: 3:20-cv-05618-SK
11                               )
     vs.                         ) DEFENDANT’S MOTION TO DISMISS
12                               ) FRCP 12(b)(6)
13    JSR Hospitality, Inc., a   )
      California                 ) Hon. Sallie Kim
14    Corporation; and Does 1-10 ) Hearing Date: Monday, Dec 7, 2020 /
15                               ) 9:30am
                                 )
16   Defendants.                 )
17                               )
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                                  MOTION TO DISMISS
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 1                                 NOTICE OF MOTION
 2   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 3         Please take notice that Defendant, JSR Hospitality, Inc. (“JSR”) will move that
 4   this Court dismiss Andres Gomez’s (“Gomez”) complaint with prejudice pursuant to
 5   FRCP 12:
 6              • FRCP 12(b)(6) that the complaint fails to allege with sufficient
 7                 specificity under Twombly/Iqbal what aspects of the website are
 8                 defective under the ADA.
 9              • FRCP 12(b)(6) that the complaint fails to state a cause of action in that
10                 Plaintiff is a resident of Florida and therefore the Unruh Act does not
11                 apply.
12         This motion is scheduled to be heard before the Honorable Sallie Kim at the
13   San Francisco Courthouse, Courtroom C—15th Floor 450 Golden Gate Ave., San
14   Francisco, CA 94102, on Monday, December 7, 2020 at 9:30am.
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           This motion will be based on this notice, the memorandum of points and
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     authorities, exhibits, declarations, and arguments to be presented at oral argument.
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18                 MEMORANDUM OF POINTS AND AUTHORITIES
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20         I.      SUMMARY OF THE ARGUMENT
21         JSR Hospitality, Inc. (“JSR”) operates a small hotel near downtown San
22   Francisco. (ECF 3,12) and operates at website at www.hostelsf.com (ECF 4). The
23   hotel’s website’s ADA policy is located at https://hostelsf.com/accessibility/.
24         Andres Gomez (“Gomez”) is Florida resident1 who is visually impaired.
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     1
       Although Mr. Gomez does specifically allege his residence, in a recent case he
27   filed in Florida: Open Access for All, Inc. v. Town of Juno Beach (S.D. Fla. 2019)
28   19-CV-80518; the Court found on July 29, 2019 that “…Plaintiffs [Gomez] allege

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 1           JSR moves to dismiss Gomez’s complaint. His complaint does not rise above
 2   the Twombly/Iqbal standard. His complaint is just a formulaic recitation of attributes
 3   of a website as not being in compliance with the ADA, but fails to alleged specifics,
 4   e.g.: what webpages were not compliant, which elements on the webpage do not meet
 5   a purported standard for non-compliance, nor by which methodology Gomez, a
 6   purported ADA “tester”, tested the website for non-compliance.
 7           In short, Gomez’s complaint is defective under the Twombly/Iqbal standard.
 8
 9           II.   BACKGROUND
10           Plaintiff is a serial litigant2 involving ADA lawsuits. His recent 2020 litigation
11   campaign in California has involved filing a number of lawsuits in the Central District
12   of California, mostly against rental car companies3 (“Los Angeles Car Rental
13   Cases”).
14           Defendant JSR operates a hotel in San Francisco. The hotel has a website at
15   www.hotelsf.com (“Website”).
16
17   the following: Mr. Gomez either "is considering moving" or "has concrete plans to
18   move" from Miami….”. There is no evidence to suggest he was going to move to
     California as he was suing the Town of Juno Beach in Florida.
19
20   2
         Andres Gomez has filed hundreds of ADA lawsuits. See PACER Generally.
21   3
      It is unclear whether Gomez, who is blind, intended to rent cars to drive in Los
22   Angeles or just make reservations for a third party to drive. These cases are:
     Andres Gomez v. California Rent-A-Car, Inc. et al (CACD 2020) 2020-cv-06967
23
     Andres Gomez v. Hollywood Star Rent A Car, Inc. et al (CACD 2020) 2020-cv-
24   06969
     Andres Gomez v. Midway Rent A Car, Inc. et al (CACD 2020) 2020-cv-06971
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     Andres Gomez v. Yesaway Operations, Inc. et al (CACD 2020) 2020-cv-07337
26   Andres Gomez v. Luxury Line, LLC et al (CACD 2020) 2020-cv-07666
     Andres Gomez v. Marius Baiec et al (CACD 2020) 2020-cv-07878
27
     Andres Gomez v. Exotic Ride Rentals, Inc. et al (CACD 2020) 2020-cv-07976
28   Andres Gomez v. Able Car Rental et al (CACD 2020) 2020-cv-01843

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 1         Gomez alleges he encountered “..numerous accessibility design faults…using
 2   SRS” (ECF 1, ¶17). Gomez further alleges, “…Investigation into his experience
 3   revealed barriers…”. Id.
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 5         III.   ARGUMENT
 6         A. Plaintiff’s Complaint does not meet the Twombly/Iqbal standard
 7             alleging a deficient website under the ADA.
 8         The Twombly/Iqbal standard requires that Gomez state facts sufficient to
 9   survive a motion to dismiss. Moore v. Mars Petcare US, Inc. (9th Cir. 2020) 18-
10   15026 pg. 11 citing to Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.
11   Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The Ninth Circuit has yet to rule on
12   what constitutes vague and formulaic pleading under the ADA where the allegations
13   are that a website is non-compliant under the ADA.
14         The Ninth Circuit affirmed a dismissal in view of vague allegations that
15   mirrored statutory pleadings. Landers v. Quality Commc'ns, Inc. (9th Cir. 2015) 771
16   F.3d 638. In Landers the plaintiff made generalized allegations that the defendant
17   violated the FLSA. Id. at 646. The district court in Landers dismissed pursuant to
18   Twombly/Iqbal and the Ninth Circuit affirmed ruling “…Landers presented
19   generalized allegations asserting violations of the minimum wage and overtime
20   provisions of the FLSA by the defendants…”.
21         This complaint is very similar to that in Landers. Gomez has simply made
22   genericized references to “...accessibility design faults…” without any specificity as
23   to what those faults are. Notably, Gomez can easily allege by reference to the specific
24   URL (eg. Webpage link) which webpage is not compliant and point to the particular
25   hyperlink element that is inoperative, but fails to do so.
26         Further, as can be noted above in the “Los Angeles Car Rental Cases” that the
27   complaints there are identical to the complaint here. Gomez’s case against Exotic
28   Ride Rentals states that he visited Exotic Ride’s website “Twice in July 2020”. Andres
                                        MOTION TO DISMISS
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 1   Gomez v. Exotic Ride Rentals, Inc. et al (CACD 2020) 2020-cv-07976, ECF 1, ¶ 16.
 2   Coincidentally, Mr. Gomez also visited the website in this case “Twice in June 2020”.
 3   ECF 1, 16. All of the factual allegations more or less the same for all other cases Mr.
 4   Gomez has filed during the last year and are all cookie-cutter reproductions of each
 5   other. This is odd given that Gomez alleges he is a “tester” and is certainly able to
 6   allege detailed facts website non-conformance with the ADA.
 7         Also, in this complaint, and in the complaints of the Los Angeles Car Rental
 8   Cases, Gomez does not alleged that he made any preparatory steps to visit California.
 9   Gomez does not allege if he had purchased a plane ticket, what locations
10   Gomez planned to visit, and if Gomez was on a vacation or a business visit. These
11   allegations of intent to visit are likewise genericized.
12         The pattern of using a template complaint of this case, the Los Angeles Rental
13   Car Cases, and Gomez’s other hundreds of cases, presents a system of pleading that
14   this district disfavors. Less than two weeks ago, in Strojnik v. Vy Verasa Commercial
15   Co. (N.D. Cal. 2020) 19-cv-02556, ECF48, Judge Orrick granted dismissal of
16   Strojnik’s ADA complaint stating ‘…A plaintiff, however, "must do more than offer
17   labels and conclusions that parrot the language of the ADA…’.
18         JSR respectfully requests that this Court grant the motion to dismiss Gomez
19   ‘s ADA claim, but recognizes that amendment is proper if the problem can be cured.
20
21         B. Plaintiff’s Complaint either fails to allege Gomez’s residence or if he
22             lives in Florida his Unruh claim fails under the Del Taco test.
23         The Unruh Act is limited in scope to "[a]ll persons within the jurisdiction of
24   this state." Cal. Civ. Code, § 51(b). The California Supreme Court has interpreted the
25   phrase "within the jurisdiction of this state" in accord with its plain meaning as "within
26   the state." Munson v. Del Taco, Inc., (2009) 46 Cal. 4th 661, 668 n.4
27         Here, Gomez appears to be a resident of Florida and he does not claim that he
28   accessed the defendant’s website within California. Instead, he merely alleges that he
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 1   accessed the website, which would presumptively be from Florida since at the same
 2   time period he also intended to visit Los Angeles to rent cars. Gomez’s bare non-
 3   allegation of residence is not enough to show that he was injured "within the
 4   jurisdiction of California”. Cal. Civ. Code § 51(b)4.
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 6         IV.    CONCLUSION
 7         Gomez should be required to file an amended complaint that meets the
 8   standards of Twombly/Iqbal for his ADA claim. Further he should be required to
 9   allege his residence, and if he resides in Florida, the Unruh claim must be dismissed
10   with prejudice.
11                                          Respectfully submitted,
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     Dated: October 26, 2020                /s/ J. Curtis Edmondson
13                                          J. Curtis Edmondson
14                                          Law Offices of J. Curtis Edmondson, PLLC
                                            Hillsboro OR 97123
15                                          (503)336-3749
16                                          jcedmondson@edmolaw.com

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      Gomez appears to want to avoid the higher filing fee required in state court by
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     coupling the ADA claim with an Unruh Act claim. See Schutza v. Enniss Family
28   Realty I LLC (S.D. Cal. 2020) 20-CV-0298 ECF 9

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 3                            CERTIFICATE OF SERVICE
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          I hereby certify that on this October 26, 2020, a true and accurate copy of the
 6   above and foregoing Motion to Dismiss was filed with the District Court's CM/ECF
 7   system, which provides service to all counsel of record.
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     Dated October 26, 2020               By: /s/ J. Curtis Edmondson
10                                        J. Curtis Edmondson
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